Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.7 Page 1 of 21




              Exhibit A
Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.8 Page 2 of 21




         MARA vm.AScO
         2149323601
                                             1.0 LBS                               LTR                                                                                               1OF1
         CT · DALL.AS SOP TE!AM
         1999 BRYAN STREEff
         DAI.I.AS TX 75201

         SHIP TO:
             JOSEPH P. DALTON
             2125091336
             MICHAEL STAPLETON ASSOCIATES, LTD
             9 MURRAY ST FL 2
             NEW YORK NY 10007



                                  NY 102 9-10
                                              1111111111                                                                        I
         UPS NEXT DAY AIR
         TRACKING#: lZ 039 9EX 01 1887 1358                                                                                                        1

        BILLING: P/P
        DESC: SOP Documents



        Reference No.l: SOP/1403403/531802284/Mara Velasco                                                                                 I                            CiJO
                                    XOL 17.CIB.('17   NV-+~   '?(l.OA Cl7/W17                                                               1--"'J~IWli---tllM




                                                               5
                                                               <T>1,1<END1>1<END2>13<END3>(306,3.6)<E4>11</E4>0<E5>0<E6>3.6<E7>11<E8>12/7/2017 12:00:00 AM15:20:37.4478695<E9></T>
            Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.9 Page 3 of 21
CT Packing Slip                                                                          (:Dt CT Corporation

     UPS Tracking #:         1Z0399EX0118871358
         Created By :        Nikita Kashyap
         Created On :        08/2212017 06:23 PM
           Recipient :         Joseph P. Dalton

                                          TiHe: Chief Compliance Officer
                                      Customer : Michael Stapleton Associates, LTD
                                       Address : 9Murray St Fl 2
                                         Email : joedalton@msasecurity.net
                                        Phone : 212-509-1336               Fax:      212-509-1372
      Package Type :     Envelope
      Items shipped :    1




                                                                                                                          '
               Log#              --
                                                 Cas-e#                                    ~ Entlt¥ Name· -   -,      I

                         '                       ----                                -
                                                                       "

             531802284                  37201700029986CUOECTL                     Michael Sta~eton Associates, Ltd.




                                                                                               6
Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.10 Page 4 of 21


· ~~~, CT Corporation                                                          Service of Process
                                                                               Transmittal
                                                                               08/22/2017
                                                                               CT Log Number 531802284
     TO:       Joseph P. Dalton, Chief Compliance Officer
               Michael Stapleton Associates, LTD
               9 Murray St Fl 2
               New York, NY 10007-2258


     RE:       Process Served in Delaware

     FOR:      Michael Stapleton Associates, Ltd. (Domestic State: DE)




    ENCLOSl!D ARE COPIES OP LEGAL PROCl!SS Rl!Cl!IVl!D BY THI! STATUTORY AGENT OP THE ABOVI! COMPANY AS FOLLOWS:


    TITLE 01' ACTION:                    SOLIMAN EID, etc., Pltf. vs. MICHAEL STAPLETON ASSOCIATES, LTD., etc., Dft. 11 To:
                                         Michael Stapleton Associates, Ltd.
    DOCUMl!NT(S) SERVED:                 Summons, Complaint, Attachment(s)
    COURT/AGl!NCY:                      San Diego County - Superior Court - San Diego, CA
                                        Case# 37201700029986CUOECTL
    NATURE OF ACTION:                   Plaintiff prays that Wages and applicable statutory penalties (See documents for
                                        additional information)
    ON WHOM PROCl!SS WAS SERVED:        The Corporation Trust Company, Wilmington, DE
    DATE AND HOUR OF SERVICE:           By Certified Mail on 0612212017 postmarked on 08/1612017
    JURISDICTION SERVl!D :              Delaware
    APPl!ARANCE OR ANSWl!R DUE:         Within 30 days
    ATTORNl!Y(S) I SENDER(S):           Corbett H. Williams
                                        Law Offices of Corbett H. Williams
                                        23276 South Pointe Drive, Suite 216
                                        Laguna Hills, CA 92653
                                        949.679 .9909
    ACTION ITl!MS:                      SOP Papers with Transmittal, via UPS Next Day Air, 1Z0399EX0118871358


    SIGNED:                             The Corporation Trust Company
    ADDRESS:                            1209 N Orange St
                                        Wilmington, DE 19801-1120
    Tl!Ll!PHONE:                        302-658-7581




                                                                              Page 1 of 1 I NK
                                                                              Information displayed on this transmittal Is for CT
                                                                              Corporation's record keeping purposes only and ts provided to
                                                                              the recipient for quick reference. This Information does not
                                                                              constitute a legal opinion as to the nature of action, the
                                                                              amount of damages, the answer date, or any Information
                                                                              contained tn the documents themselves. Recipient ts
                                                                              responsible for Interpreting said documents and for taking
                                                                              appropriate action. Signatures on certified mall receipts
                                                                              confirm receipt of package only, not contents.




                                                            7
     Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.11 Page 5 of 21




                                                    fUC! SUCl<fHT lOP OFEllV!lOPE 10 IHE l\10HI
                                                     OF !He RE l\JRff ADDRESS. f 010 ii IGOll EO UN!
,·
                                            ········~~~fi~i~~~~il8 •••••••••
                                                                                                                                                                   U. ~ P~STAGE
                                                                                                                                                                   V.G~ NA HIUS, CA
                                                                                                                                                                         1

                                                                                                                                                                       92654
     Corbett H. Williams                                                                                                                                           AU~M1~uUr
     Law Offices of Corbett H. Williams
     23276 South Pointe Drive, Suite 216                                                                                     1000               19801
                                                                                                                                                                       $7.01
                                                                                                                                                                   R230SK13B933·16
     Laguna Hills, CA 92653
                                                7015 0640 0002 4410 1382
                                                                                                                       I'      '




                                                                                                       I.




                                           Michael Stapleton Assoclates, LTD.
                                           c/o The Corporation Trust Company
                                           Corporation Trust Center
                                           1209 Orange St.
                                           Wilmington,DE 19801




                                                                         ·--·- ···           ·- -      - --·---   ----~·"'•·-----·                        -   ~--...




                                                                                              l1l1/lll1l•/'i/1/1111ll· "/11'·'11 11"1•1111111 111//11"'           )


                                                                8
           Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.12 Page 6 of 21
                                                (                                                           (
                                                                                                                                                                              SUM-1 00
                                           SUMMONS                                                                                     FOR COURT USE ONLY
                                                                                                                                   (soi:o:f!~~..., !JfiO DE LA CORTE)
                                   (CITACION JUDICIAL)                                                          . ,: , ..     >/,lr·k~'·.S       OF i· .~,::_ , .
  NOTICE TO DEFENDANT:                                                                                                CE~l' i:~;\L            LH:\''!.SIOH
  (AV/SO AL DEMANDADO):
                                                                                                                                                           ··~'
                                                                                                                                                 ~ ·-"11
                                                                                                                                                         r.      ·ll'I:
                                                                                                                                                    ~: - \9"
                                                                                                                                                   .....
  :MlCHAEL STAPLETON ASSOCIATES, LTD., dba MSA SECURITY,                                                                                                                  ~

  a Delaware corporation; and DOES 1 through 10, inclusive                                                            -1 ..   ;J    c.;•;:"J•.L''   .,        'f)l1''1·1·1
                                                                                                                CLCr\.n- ..11.i,· umm u·~ '·""
 YOU ARE BEING SUED BY PLAINTIFF:                                                                               S.fll~ DIEGO C:OlHHY. CA
 (LO ESTA DEMANDANDO EL DEMANDANTE):
  SOLIMAN EID, an individual

    NOTJCEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
    below.
      You have 30 CALENDAR DAYS after lhls summons and legal papers are served on you to flle a wrilten response al this court and have a copy
    served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form If you want the court to hear your
    case. There may be a court form lhet you can use for your response. You can find these court forms and more Information at the Callfornla Courts
    Online Self-Help Center (www.courtlnfo.ca.gov/se/fhalp), your county law library, or the courthouse nearest you. If you cannot pay lhe ming fee, ask
   Iha court clerk for a fee waiver form. If you do not me your response on time, you may lose lhe case by default, and your wages, money, end property
   may be taken without further warning from lhe court.
       There are other legal requirements. You may want lo call an attorney rlijAt away, If you do not know an atlorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonpront legal services program. You can locale
   lhese nonprofit groups al Iha California Legal Servlcas Web site (www.lewhalpcallfornla.org), the California Courts Online Self-Help Center
   (www.courllnfo,oa.gov/se/fhelp), or by contacUng your local court or county bar association. NOTE: The court has a slalulory lien for waived fees and
   costs on any selllement or arbitration award of $10,000 or more In a civil case. The court's Hen must be paid before the court wlll dismiss the case.
  1AVISO/ Lo han demandado. SI no responds dantro da 30 dlas, la carte puede decldlr en su contra sin ascuchar su verst6n. Lea /a lnformaol6n a
   conllnuac/6n.
      Tiena 30 D(AS DE CALENDARIO daspuas de qua le antraguan asta c/lec/6n y papa/es laga/as para presenter una raspuasta por escrilo an asta
   corta y hacar qua sa entregue u11a cop/a al demandanta. Una carta o una llamada talef6nlca no lo protagrm. Su respuasla por escr/lo Ilana qua estar
  en formato legal correclo sf dasaa qua procasan su caso en la corta. Es poslb/9 qua hays un formu/arlo que ustad pueda usar para su raspuasta.
  Puada anoontrar es/os formularlos de la corta y mes lnformac/6n en el Centro de Ayuda de las Cortes da Cal/fornla (www.sucorte.ca.gov), an la
  blbl/otaca de /ayes de su oondado o en la corla qua /a quade mes cerca. SI no puede pager la cuota de prasentac/6n, p/da al secretar/o de la corta
  que la de un formular/o de axanc/6n de pago de cuotas. SI no prasanla su raspuasta a l/ampo, puada parder al caso por lncumpllmlanto y la corta la
  podr/A qu/lar su sue/do, dlnaro y blenes sin mils a.dverlanola.
     Hay otros requls/los legates. Es racomendab/o qua /lame a un abogado lnmadlalamante .. SI no conoca a un abogado, puada /lamer a un sarvtolo de
  ramls/6n a abogedos. SI no puada pager a un abogado, es pos/b/e qua oumpla con /os raqulsllos para obtener sarvlclos legates gratu/los d!J un
  programa de servlc/os lagales sin fines de /ucro . Pueda encontrar eslos grupos sin fines de lucro on el sl/lo web de Callforn/a Legel Services,
  (www.lawhelpcallfornla.org), an el Centro de Ayuda de las Cortes dq California, (www.sucorte.ca.gov) o ponl~ndosa en contacto con la carte o al
  coleglo de abogados locales. AV/SO: Por lay, la corta Ilene derqoho a reclamar las cuotas y los costos axentos por lmponar un gravamen sabra
  cualqular recuparac/6n de $10,000 6 mf!is de valor rac/blda med/ante un acusrdo o una conces/6n de arbltra/a en un caso de deracho c/vll. Tiana qua
  pagar al gravamen de la corta antes di] qua la corta puada dasechflr s/ caso.
The name and address of \he court Is:                                                                      CASE NUMBER:
                                                                                                           (Numoro do/ Caso):
(El nombre y dlrecc/6n de la corle es):       San Diego County Superior Court ·
                                                                                                                     37-2017-00029986-CU-OE..CTL
 330 West Broadway
 San Diego, CA 92101
The name, address, and telephone number of plaintiff's attorney, or plalntlff without an attorney, Is:
(El nombre, la 'dlreco/6n y el numero de le/Mono de/ abogado de/ demandanle, o de/ aemandante que no Ilene abogado, es):
Law Offices of Col'bett H. Willlams, 23276 South Pointe Dr., Ste. 216, Laguna Hills, CA,                                                       949-679~9909

 DATE:
 (Feoha)                          '
                                     J.\LJG     '1
                                                 -
                                                     5 2017          Clerk, by
                                                                     (SFJorelarlo)
                                                                                           iA <::(.
                                                                                           ·~·· i.) ' 11 " · - '
                                                                                                                     t,.-r1 l(Yi'i:\~ \                                       , Deputy
                                                                                                                                                                               (Adjunto)
(For proof of service of this summons, use Proof of Service ol Summons (form POS-01 0).)
(Pare pruebe de entrege de esla cl/al/6n use el formular/o Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  ISEALI                         1.       D
                                          as an Individual defendant,
                                 2.       D
                                          as the person sued under the fictitious name of (specify) :


                                     3.   ClJ    on behalf of (specify):   MICHAEL STAPLETON ASSOCIATES, LID.
                                          under:     m     CCP 416. 10 (corporation)                        D               CCP 416.60 (minor)
                                                     D     CCP 416.20 (defunct corporation)                 D               CCP 416.70 (conservatee)
                                                     m     CCP 416.40 (association or partnership)          D               CCP 416.90 (authorized person)
                                                     D   other (specify):
                                     4.   CJ     by personal delivery on {date):
                                                                                                                                                                      Po o 1of1
Form Adoplod for Mandatory Use                                          SUMMONS                                                              Code of CMI Procodure 9§ 412.20, ~66
  Judicial Council of Colllornle                                                                                                                             MW1.cou1ilnlo.ca.oov
  SUM·100 tRev. July 1, 20091




                                                                                   9
        Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.13 Page 7 of 21
.   '



             Corbett H. Williams (Bar No. 246458)
             cwillimns@chwilliamslaw.com
         2   Law Offices of Corbett H. Williams
             23276 South Pointe Drive, Suite 216
         3   Laguna Hills, CA 92653
             Telephone:    949.679.9909
         4   Facsimile:    949.535.1031
         5   Attorney for Plaintiff
             SOLIMAN EID
         6
         7
         8

         9
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
        10
                                              FOR THE COUNTY OF SAN DIEGO
        11
        12

                                                       ~
             SOLIMAN EID, an individual,                    Case No.:   37-2017..{10029986.C
                                                                                               u..oE-CTL
                                                                                                 .   '
        13

                                                       ~
                                      Plaintiff,
        14                                                  COMPLAINT FOR:
                      v.                               )

                                                        ~
        15
             MICHAEL STAPLETON                              1. Violation of California Labor Code §§ 510,

                                                        ~
        16   ASSOCIATES, LTD., dba MSA                         1194, 1197 and 1197.1 and 1189 (Unpaid
             SECURITY, a Delaware corporation; and             Minimum, Straight and Overtime Wages);
        17   DOES I through 10, inclusive,         )        2. Violation of California Labor Code § 2802
                                                        )      (Failure to Reimburse Necessary
        18                            Defendants.       )      Expenses);
                                                            3. Violation of California Labor Code §
        19
        20
        21
                                                       l)
                                                               226(a) (Non-Compliant Wage Statements);
                                                               and
                                                            4. Violation of California Business &
                                                               Professions Code§§ 17200, et seq,


        22
        23
        24
        25
        26
        27
        28
             Page 1
                                                        COMPLAINT




                                                       10
         Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.14 Page 8 of 21
. '



                          Plaintiff SOLIMAN EID alleges as follows against defendants, MICHAEL STAPLETON

              2    ASSOCIATES, LTD. and DOES 1through10, inclusive:

              3                                             THE PARTIES

              4           1.     Plaintiff SOLIMAN EID ("PLAINTIFF") is an individual residing in Irvine,

              5    California.

              6           2.     Defendant MICHAEL STAPLETON ASSOCIATES, LTD. ("MSA") was and is,

          7       upon information and belief, a Delaware corporation with offices located in San Diego, California,

          8        which is engaged in the business of providing security services, including explosives detecting

          9       canines and handlers to clients throughout the United States.

         10               3.     PLAINTIFF is imaware of the true names and capacities, whether cofµorate or

         11       individual, or otherwise, of defendants named as DOES 1 though 10, inclusive, Pursuant to
  <I>
 s       12       California Code of Civil Procedure section 474, PLAINTIFF will seek leave of court to amend
s"'
~
  .
?ll
         13       this Complsint to state said defendants' hue names and capacities when the same have been

         14       ascertained. PLAINTIFF is informed and believes, and based on such information and belief,
~
.J::J
 )..,
  0
         15       alleges that said fictitiously-named defendants are responsible in some manner for the injuries and
u
......
 0       16       damages to PLAINTIFF as fi.uther alleged herein,
 ~
 c.J
         17               4,     PLAINTIFF is informed and believes, and thereon alleges, that each and all of the
lS
0
         18       acts and omissions alleged herein were performed by, or are attributable to MSA, and/or DOES 1
 ~
...:i
         19       through 10, inclusive, (hereafter referred to collectively as "DEFENDANTS") each acting as the

         20       agent for the other, with legal authority to act on the other's behalf. The acts of any and all

         21       Defendants were in accordance with, and represent the official policy of DEFENDANTS.

         22               5.     PLAINTIFF is informed and believes, and on that basis alleges, that each defendant

         23       is the alter ego and joint employer, and is working in joint enterprise with, each and every other

         24       defendant, PLAINTIFF is further informed and believes, and on that basis alleges, tliat at all times

         25       relevant to this Complaint, each defendant was the agent or employee of each other defendant, and

         26       in the doing the acts alleged herein, was acting within the comse and scope of such agency or

         27
         28
                  Page2

                                                               COMPLAINT




                                                               11
    Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.15 Page 9 of 21




              employment, with the consent, provision, .and authorization of each of the remaining defendants.
         2    All actions of each defendant were ratified and approved by every other defendant.

         3            6.     At all relevant times, DEFENDANTS, and each of them, ratified each and every act
         4    or omission complained of herein. At all relevant times, DEFENDANTS, and each of them, aided
         5    and abetted the acts and omissions of each and all the other Defendants in proximately causing the
         6    damages herein alleged.

         7            7.     PLAINTIFF is infmmed and believes, and thereon alleges, that each of said
         8   DEFENDANTS is in some malUler intentionally, negligently, or otherwise responsible for the
     9       acts, omissions, occmrences, and transactions alleged herein.
    10                                        JURISDICTION AND VENUE

    11                8.     Venue is proper under California Code of Civil Procedures Section 395, because
~   12       one or more of DEFENDANTS is located in San Diego County, California. The amount in
s
~   13       conh·oversy exceeds this Court's jurisdictional minimum.

    14                                         FACTUAL ALLEGATIONS

    15                9.    PLAINTIFF is a police officer who is employed by DEFENDANTS as an
    16       explosives detecting canine handler. PLAINTIFF, like all other canine handlers employed by

    17       DEFENDANTS, is a non-exempt hourly employee subject to the overtime laws and regulations of

    18       the State of California.

    19                10.   Soon after PLAINTIFF began his employment, DEFENDANTS assigned
    20       PLAINTIFF an explosives detecting canine that PLAINTIFF would remain responsible for
    21       throughout his employment. DEFENDANTS require that all explosives detecting canines live
    22       with their assigned handlers and that each handler, including PLAINTIFF, provide all necessary
    23       care and provisions for the animal, including, without limitation, shelter, food, companionship,
    24       exercise, grooming and training, Other necessary costs include cleaning and maintenance of the
    25       handler's residence, interior vehicle cleaning and the purchase of various equipment and supplies,

    26       including leashes, collars, crates, dog beds, paper towels, grooming supplies and cleaning
    27       supplies, among other items,

    28
             Page 3

                                                         COMPLAINT




                                                          12
         Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.16 Page 10 of 21




                           11.     Although DEFENDANTS pay handlers, including PLAINTIFF, a "canine stipend I

              2    reimbursement" amount of $400.00 pe1· month, that amount is rarely, if ever, sufficient to cover

              3    the necessary expenses PLAINTIFF and other handlers incur in caring for their assigned canines

           4       on a monthly basis.

           5               12.    PLAINTIFF, like other canine handlers employed by DEFE,NDANTS, is required

           6      to spend substantial uncompensated time working "off the clock" caring for his assigned canine.

           7      Although PLAINTIFF is an hotirly, non-exempt employee, DEFENDANTS only compensate

           8      PLAINTIFF and thier other explosives detecting canine handlers for time worked after they arrive

           9      at a specific site where explosives detecting activities are to be performed. All other time worked,

         . 10     including time spent feeding, caring for, exercising, grooming and training animals is

          11      uncompensated, as is time spent procuring necessary supplies and equipment required for their

...e
 <'I      12      care.
s
~         13               13.    Also tmcompensated is time worked by PLAINTIFF and the other handlers while
=cl       14      traveling to and from sites where explosives activities are to be perfonned. Stich travel time is
~
.r:i
 .....
 0
          15      "time worked" under the applicable wage order(s) and California labor laws because
u
~         16      DEFENDANTS' canines require the handler's time and attention while traveling to and from
·~
 u        17      specific sites. The handlers'   r~sponsibilities   toward their canines are not diminished while in a
!S
0
         18       vehicle being transported to or from worksites. Canines are not transported in crates and handlers
 ~
,.J
         19       must remain attentive to their assigned canine's needs and well-being during transport, and

         20       canines may require water, need to be walked or have other requirements dming transport.

         21                14.    PLAINTIFF and DEFENDANTS' other canine handlers are also uncompensated

         22       for time worked in caring for unifonns they are required to wear while conducing explosives

         23       detecting activities.

         24                15.    As a result of DEFENDANTS' policy of not compensating PLAINTIFF for time

         25       worked other than time spent at particular sites conducting explosives detecting activities,

         26       PLAINTIFF and other handlers were deprived of ·minimum, straight and overtime wages earned

         27       during their employment.

         28
                  Page 4

                                                                 COMPLAINT




                                                                     13
        Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17.. PageID.17 Page 11 of 21
.'


                            16.    In addition to failing to compensate for all time worked, DEFENDANTS also

              2    failed to maintain expense reimbursement policies sufficient to reimbUl'se PLAINTIFF and the
                                  ·(



              3    other canine handlers for necessary expenses incurred as a direct C"Onsequence of the discharge of

             4    their duties. Such expenses include the costs of curing for and provisioning the animals in excess

             5     of $400.00 per month.

             6             17.     Such expenses also include the provision of a personal vehicle with which to

           7      transport explosives detecting canines to and from to sites where explosives detecting activities are

           8      to be performed, including, but not limited to, the cost of fuel, insurance, registration, maintenance

           9      and vehide depreciation. PLAINTI;FF and the other handlers are also required to furnish personal
         10       cellular telephones or "smart phones" for work purposes, which DEFENDANTS regularly use to
         11       communicate with PLAJJ'.1TIFF. DEFENDANTS do not reimburse handlers for the cost of cellular


s·~~     12       telephones·, including the cost of providing voice and data service.

         13                1-8.   Further, although handlers are requirec) to wear a uniform while conducting
~                 explosives-detecting activities, handlers, including PLAINTIFF, are not reimbursed for the cost of
         14
:g
.0
        . 15      caring for those uniforms. Nor do DEFENDANTS compensate handlers, including PLAINTIFF,
u'"'
 0

'¢       16       for time worked laundering or otherwise caring for uniforms. PLAINTIFF and the other handlers
 ~
 CJ
         17       are also required to purchase boots, an integral part of the uniform DEFENDANTS require,
s0
         18       without reimbursement.
 ~
...:i
         19                19.    On August 2, 2017, PLAINTIFF gave written notice through his counsel pursuant

         20       to the Private Attorneys General Act, Labor Code Sections 2698, et seq. ("PAGA") of MSA's

         21       violations of various provisions of the California Labor Code to the Labor and Workforce

         22       Development Agency ("LWDA"). That Notice asked the LWDA to investigate MSNs failure to

         23       comply with various provisions of the California Labor Code including, without limitation,

         24       California Labor Code Sections 2802, 510, 1194, 558, 1194, 1197, 1197.1, 1194, 1199, 226.7,

         25       226.7(b), and 512. together with the applicable Wage Order(s).

        26                 20. · Such notice was also sent via registered U.S. Mail to MSA's registered agent for

        27        service of process· on file with the California Secretary of State. On that same day, PLAINTIFF,

        28
                  Page 5

                                                               COMPLAINT




                                                               14
Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.18 Page 12 of 21




      through his counsel, tendered the filing fee to the LWDA as required by Labor Code Section

 2    2699.3.

 3              21.     If, within 60 days of the date of the written notice to the LWDA, the LWDA

 4    responds indicating that it does not intend to investigate MSA's violations of the Labor Code, or if
 5    the LWDA fails to respond within 65 days of that date, PLAINTIFF intends to amend this
 6    Complaint to state a cause of action for civil penalties tmder the PAGA as provided by Labor

 7    Code Section 2699.3(a)(2)(C).
 8                                       FIRST CAUSE OF ACTION

 9    (FAILURE TO PAY MINIMUM, STRAIGHT AND OVERTIME WAGES IN VIOLATION

10                       . OF LABOR CODE§§ 510, 1194, 1197 and 1197.l and 1189)
11                (By PLAINTIFF Against DEFENDANTS and Does 1 through 10, inclusive)

12              22.     PLAINTIFF hereby re-alleges and incorporates all preceding paragraphs as though

13    folly set forth   her~in.

14              23.     DEFENDANTS regularly and systematically required PLAINTIFF to work hours

15    in excess of 8 hours per day and 40 hours per week without compensation. Such time includes, but

16    is not necessarily limited to, time worked: (1) transporting DEFENDANTS' explosives detecting

17    canine to and from sites were security work was to be performed; (2) feeding, exercising, training

 18   and otherwise ca.ring for DEFENDANTS' explosives detecting canine and (3) laundering or

19    otherwise caring for the uniform DEFENDANTS required PLAINTIFF to wear.

20              24.     As a result, and pursuant to Labor Code Section 1194.2, PLAINTIFF is entitled to

21    liquidated damages in an ammmt equal to the minimmn wages unlawfully unpaid. PLAINTIFF is
22    also entitled to recover the foll amount of his unpaid straight and overtime wages, together with
23    interest thereon and reasonable attorneys 1 fees and costs of suit as provided by Labor Code

24    Sections 218.5 and 218.6 and other provisions of the Lab01· Code as might apply.

25    Ill/

26    Ill/

27    ////

28
      Page 6
                                                    COMPLAINT




                                                   15
        Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.19 Page 13 of 21




                                                  SECOND CAUSE OF ACTION

             2       (FAILURE TO REIMBURSE NECESSARY EXPENSES IN VIOLATION OF LABOR

             3                                              CODE§ 2802)

             4             25.    PLAINTIFF hereby re-alleges and incorporates all preceding paragraphs as though

             5    fully set forth herein.

             6             26.    Throughout his employment, DEFENDANTS required PLAINTIFF to use his

          7      personal vehicle and personal cellular telephone or "smart phone" for work purposes.

             8   DEFENDANTS also required PLAINTIFF to shelter and care for an explosives detecting canine

          9      and required PLAINTIFF to furnish and care for a uniform. DEFENDANTS foiled to reimburse or

         10      to adequately reimburse PLAINTIFF for such expenses.

         11               . 27.   DEFENDANTS have violated California Labor Code Section 2802, and as a result,
  s"'
  c<I    12      PLAINTIFF is entitled to recover all necessary and umeimbmsed expenses she incurred during
s
tE       13      the course of his employment, together wlth attorney's fees and costs of suit.
c:l      14                                        THIRD CAUSE OF ACTION
 \1
,.0
 0
  ~      15               (FAILURE TO FURNISH WAGE STATEMENTS CONSISTENT WITH THE
u
(+..,
 0       16                                 REQUIREMENTS OF LABOR CODE § 226)
 :!?
 u
        17                   (By PLAINTIFF Against DEFENDANTS and Does 1 through 10, inclusive)
IE
0
        18                28.     PLAINTIFF hereby re-alleges and incorporates all preceding paragraphs as though
 ~
...:i
        19       fully set forth herein.

        20                29.     Section 226(a) of the California Labor Code requires DEFENDANTS to furnish

        21       itemized wage statements at the time of payment of wages showing, without limitation: gross

        22       wages earned; the correct total hours worked by the employee; the correct net wages earned; the
        23       inclusive dates of the period for which the employee is paid; the conect name and address of the

        24       legal entity that is the employer; and all applicable hourly rates in effect dming the pay period and

        25       the corresponding number of hours worked at each hourly rate by the employee.

        26                30.     DEFENDANTS violated Labor Code Section 226(a) by failing fo furnish

        27       PLAJNTIFF wage statements consistent with the requirements thereof. In particular, the wage

        28
                 Page 7

                                                              COMPLAINT




                                                              16
     Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.20 Page 14 of 21



..
           statements DEFENDANTS :furnished failed to acci1rately show, among other things: (1) the total
       2   homs worked by PLAINTIFF, (2) all applicable hourly rates in effect during the pay period and
       3   the corresponding number of hours worked at each hourly rate, (3) gross wages and (4) net wages.

       4            31.     PLAINTIFF has been injured by DEFENDANTS' failure to provide all of the
       5   requisite information 01~ the wage statements furnished to him in that suc~1 failure, inter alia, (1)
       6   masks possible and actual underpayments to PLAINTIFF and, (2) makes it impossible for
       7   PLAINTIFF to verify slie has in fact been paid the proper amounts owing. Further, by operation of
       8   law, PLAINTIFF is deemed to have suffered injmy for purposes of Labor Code Section 226 as

       9   provided by subsection (a)(2)(A).
                    32.     Pursuant to Labor Code 226(e)(l), PLAINTIFF is entitled to recover statut01y

           penalties and reasonable attorneys' fees.
                                                FOURTH CAUSE OF ACTION

            (UNLAWFUL, UNFAIR AND FRAUDULENT BUSINESS PRACTICES IN VIOLATION

                              OF BUSINESS & PROFESSIONS CODE § 17200, ET SEQ.)

                      (By PLAINTIFF Against DEFENDANTS and Does 1 through 10, inclusive)

                    33.     PLAINTIFF hereby re-alleges and incorporates all preceding paragraphs as though

           fully set forth herein.
                    34.     The      unlawful   conduct   alleged   herein,   including,   but   not limited . to,
           DEFENDANTS': (i) failure to pay straight, minim'l.lm and overtime wages in violation of Labor
           Code Sections 510, 1194, 1197 and 1197. 1 and 1189; (ii) failure to reimburse necessary expenses
           in violation of Labor Code Section 2802 and (iii) failure to furnish statutorily complaint wage
           statements in' violation of Labor Code Section 226 constitute unlawful activity prohibited by
      23   Business and Professions Code section 17200, et seq., including but not limited to, Sections

      24   17200, 17202, and 17203.
      25            35.     DEFENDANTS' actions herein alleged likewise constitute unfair, fraudulent
      26   and/or deceptive business practices within the meaning of Business and Professions Code section

      27   17200, et seq.

      28
           Page 8
                                                           COMPLAINT




                                                          17
        Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.21 Page 15 of 21




                          36.    DEFENDANTS have deprived PLAINTIFF of money and/or property and
             2    PLAINTIFF has suffered injury in fact as the direct and proximate consequence of th.e unlawful,
             3    tmfair and fraudulent conduct alleged herein.

             4            37.    Pursuant to section 17203 of the California Business and Professions Code,

             5    PLAINTIFF seeks an order of this Court enjoining DEFENDANTS from continuing to engage in

             6    mlawful, unfair, or deceptive business practices and any other act prohibited by law, including

             7    those set forth in this Complaint. PLAINTIFF also seeks an order requiring DEFENDANTS to

             8   make full restitution of all moneys wrongfully withheld from PLAINTIFF.

          9                                           PRAYER FOR RELIEF
         10               WHEREFORE, PLAINTIFF, prays for relief and judgment       as follows:
         11                     1.      Wages and applicable statutory penalties;
 "'
....~    12                     2.      Pre-judgment and post-judgment interest;

~        13                     3.      Attorneys' fees and costs reasonably incurred;
~                               4.      Pmitive and/or exempla1y damage, if allowed;
ti
         14
4)
.0
         15                     5.      Equitable relief, if allowed;
u""'
 0

-...;
 0       16                     6.      An order enjoining Defendants from continuing the unlawful conduct
 :a
 I.)
         17                             described herein;
~        18                     7.      An award of reasonable attorneys' fees and costs pursuant to California
 ~
 C'iJ
>-l
         19                             Labor Code Section 218.5 and/or other applicable law; and

        20                      8.      All such other remedies, legal or equitable as the Court may deem proper or

        21                              necessary.

        22       Dated: August 14, 2017

        23
        24
        25
        26
        27
        28
                 Page 9

                                                               COMPLAINT




                                                               18
         Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.22 Page 16 of 21
                                                                                                                                                                        C M-0 10
    llTIORNEY OJ;l Pllf\TY Wrrti QUT l\lTORN~Y (Nsmo, Slolo Bor numbor, ond addross):                                                  FOR COURT USE ONLY
 ..... Law Office~ of' CorocttH. W1lhams
    Corbett H. Wllllnms (SEN 246458)
  · 23276 Sotllh Poi nte Dr., Ste, 216
    Laguna Hills, C111ifornin 92653
           TELEPHONe NO.:      94 9-679-9909                           FAXNO.:    949-535-1031
     llTfOf\NEYFOl'l (Nomo):   So!iJnall Eid
 suPt:FUOR couRr oF CALIFORNIA, coUNTY oF       San Diego
         srnmADDREss:           330 West Brnadway
         MAILING ADDRESS:
        c1TvANDz1pcoDE:        San Diego, CA 92101
             BRANCH Nl\M&      Hall of Justice Courthouse
     CASE NAME:
     Eid v. Michael Stapleton Associates, Ltd.
                                                                                                                      C/\SENUMBER:
         CIVIL CASE COVER SHEET                        Complex Case De·slgnatlon
  [{] Unllmlted             Limited D                   Counter
                                                                      D
                                                                      D      Jolnder
                                                                                            37-2017-00029986.CU-OE·CTL
      (Amount               (Amount                                                       JUDGE:
      demanded              demanded Is          Flied wllh first appearance by defendant
      exceeds $25,000)      $25,000 or less)          (Cal. Rules of Courl, rule 3.402)    DEPT:
                               I/ems 1-6 below must be completed (see Ins/ructions on page 2).
 1. Check one box below for the case type that best describes this case:
       Auto Tort                                                   Contract                                    Provlslonally Complex Civil Litigation
      D      Auto (22)                                            D      Breach or contracVwarranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
      D      Uninsured motorist (46)                              D      Rule 3.740 collections (09)           D    ·AnUtrusVTrade regulation (03)
      Other PliPD/WD (Personal lnJuryiProperty                    D     Other collections (09)                 D     Construction defect (10)
      D<1mage/Wrongf\ll Death) Tort                               D     Insurance coverage (18)                D     Mass tort (40)
      D     Asbestos (04)                                         D     Other contract (37)                    D     Securities litigation (28)
      D     Product liability (24)                                Real Property                                D     EnvlronmentalfToxlc tort (30)
      D     Medical malpractice (46)                              D     Eminent domalnilnverse                 D     Insurance coverage claims arising from the
      D     Other PliPD/WD (23)                                         condemnation (14)                            above listed provlslonally complex case
      Non·PliPD/WD (Other) Tort                                   D     Wrongful eviction (33)
                                                                                                                     types (41)
      D       Business tortiunfalr business practice (07)         D
                                                                Other real property (26)                       Enforcement of Judgment
      D       Civil rights (08)                           Unlawh1I Dotalner                                    D     Enforcement of judgment (20)
      D       Defamation (13)                                     D
                                                                Commerci al (31)                               Miscellaneous Civil Complaint
      D       Fraud (16)                                          D
                                                                Residential (32)                               D     RIC0(27)
      D       Intellectual property (19)                          D      Drugs (38)                            D     Other <;omplalnt (not specified above) (42)
      D       Professional negllgence (25)                        Judicial Review                              Miscellaneous Civil Petition
      D       Other non-Pl/PDIWD tort (36)                        D      Asset forfeiture (05)                 D     Partnership and corporate governance (21)
      .~loyment                                                   D      Petition re: arbllrallon award (11)   D     Other petition (no/ specified above) (43)
      LJ Wrongful termination (36)                                D      Writ of mandate (02)
      [ZJ     Olher employment (15)                               n     Other Judicial re~lew (39)
2. This case LJ Is          LlJ Is not complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark lhe
   faclors requiring excepllonal judicial management:
   a.     D Large number of separately represented parties    d.                          D
                                                                      ~arge number of witnesses
   b. D Extensive motion practice raising dlfflcult or novel e. D Coordination with related actions pending In one or more courts
            Issues that will be lime-consuming to resolve             In other counties, states, or countries, or In a federal court
   c. D Substantial amount of documentary evidence            f. D Substantial post)udgment )udlclal supervision
3.    Remedies sough! (check all that apply); a.[l] monetary                            b.O
                                                                            nonmonelary; declaratory or Injunctive relief                                   c.   DP          ttive
4.    Number of causes of action (specify}: Four
5.    This case D Is         [ZJ Is not a class action suit.
6.    II there are any known related cases, file and serve a notice of related case. (You

g~~~bl~lf.uVJ 1~ ~~~~~11 .                                1
                                    JYPll OR PRINT NAME
                                                                                        NOTICE
  • Plaintiff musl file this cover sheet with the first paper flied In the action or proceeding (except s I claims cases or cases ftled
    under the Probate Code, Family Coda, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    In sanctions.
  • Fiie this cover sheel In addition to any cover sheet required by local court rule.
  • II this case Is complex under rule 3.400 et seq. of the Callfornla Rules of Court, you must serve a copy of this cover sheel on all
    other parties to the action or proceeding.
  • Unless this Is a collectlons case under rule 3.740 or a complex case, this cover sheel wlll be used for statlstlcal purposes onlv.
                                                                                                                                                                         !10 o 1 of2
Fo1m /\o'oplod for M~11do\ory Ueo                                 CIVIL CASE COVER SHEET                                 Cal. Rulos of Cou11,ruJos i .:io, 3.220, 3A00-3.403, 3.740;
  Judldol CoVnQij ol Calllornlo                                                                                                  Col. Stendarde al Judlol1t Admlolot10tlon, okf. 3. 10
   CM-OIO (Rev. July 1, ?007)                                                                                                                                   ww.v.courllnlo.ca.gov




                                                                                           19
         Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.23 Page 17 of 21

                                                                                                                                         CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                         a
 To Plaintiffs and Others Fiiing First Papers. If you are filing first paper (for example, a complaint) In a civil case, you must
 complete and file, along with your first paper, the Civil Casa Covar S/Jeal contained on page 1. This ln[ormation will be used to compile
 statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. In Item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed In item 1,
 check the more specific one. If the case has multiple causes of aotlon, check the box that best Indicates Iha primary cause of action.
 To assist you In completlng the sheet, examples of the cases that belong under each case type In Item 1 are provided below. A cover
 sheet must be flied only with your Initial paper. Failure to file a cover sheet with the first paper flied In a civil case may subject a party,
Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collacllons case" under rule 3.740 Is defined as an action for recovery of money
owed In a sum stated to be certain that Is not more than $25,000, exclusive of Interest and attorney's fees, arising from a transaction In
which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The Identification of a case as a rule 3.740 collecllons case on this form means that It will be exempt from the general
lime-for-service requirements and case management rules, unless a defendant files a responsive pleading: A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment In rule-3.7 40,
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case Is complex. If a plaintiff believes the case Is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes In Items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of Its first appearance a jolnder In the
plaintiff's designation, a counter-designation that the case Is not complex, or, If the plaintiff has made no designation, a designation that
the case Is complex.                                        CASE TYPES AND EXAMPLES
Auto Tort                                         Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)--Personal Injury/Property              Breach of ContracVWarranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                           Breach of Rental/Lease                          AntltrusVTrade Regulation (03)
     Uninsured Motorist (46) (if the                           Contract (not unlawful detainer             Conslrucllon Defect (10)
           case Involves an uninsured                               or wrongful evlollon)                  Claims Involving Mass Tort (40)
           motorist claim subject lo                       ConlracVWarranty Breach-Saller                  Securities Litigation (26)
           <Jrbllra//on, checl< this /lem                      Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
           Instead of Auto)                                Negligent Breach of ContracV                    Insurance Coverage Claims
Other Pl/PD/WD (Personal.Injury/                               Warranty                                         (er/sing from prov/slona/ly complex
Property DamagelWrongfut Decith)                           Other Breach of Contract/Warranty                    case type /Isled above) (41)
Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                         book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                         Collection Case-Seller Plaintiff                     Abstract of Judgment (Out of
                                                           Other Promissory Note/Collections                          County)
          Asbestos Personal Injury/
                 Wronglul Death                               .case                                             Confession of Judgment (non·
     Producl'Llabillly (not asbestos or               Insurance Coverage (not prov/slonally                           domestic relal/ons)
          toxlo/envlronmenla/) (24)                        compl&x) (18)                                        Sister Slate Judgment .
     Medical Malpractice (45)                             Auto Subrogation                                      Administrative Agency Award
          Medical Malpracllce-                            Other Coverage                                            (not unpaid taxes)
                 Physlclans & Surgeons                Other Contract (37)                                       PetlllonfCertlficallon of Entry of
          Other Professional Health Care                  Contractual Fraud                                         Judgment on Unpaid Taxes
                 MalpracUce                               Other Contract Dispute                                Other Enforcement of Judgment
                                                  Real Property                                                       Case
     Other Pl/PD/WO (23)
          Premises Liability (e,g,, slip              Eminent Domain/Inverse                          Miscellaneous Civil Complaint ·
                 and fall)                                Condemnation (14)                                RIC0(27)
          Intentional Bodily Injury/PD/WO             Wrongful  Eviction   (33)                            Other Complaint (not specif/ad
                                                                                                                above) (42)
                 (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) {26)
          Intentional Infliction of                                                                             Declaratory Relief Only
                                                          Writ of Possession of Real Property                   Injunctive Relief Only (non·
                 Emollonal Distress                       Mortgage Foreclosure                                        harassment)
          Negligent lnnlctlon of                          Quiet Title
                 Emotional Distress                                                                             Mechanics Lien
                                                          Other Real Property (not eminent                      Other Commercial Complaint
          Other Pl/PD/WO                                  domain, /andlordllenant, or
                                                          forec/osvre)
                                                                                                                      Case (non-tori/non-complex)
Non·Pl/PDIWD (Other) Tort                                                                                       Other   Civil Complaint
     Business Tort/Unfair Business                Unlawful Detainer                                                  (non-tori/non-complex)
        Practice (07)                                 Commercial (31)                                 Mtscellaneous Civil Petition
    Civil Rights (e.g., discrimination,               Resldenllal (32)                                     Partnership and Corporate
         false arrest) (not civil                     Drugs (38) (If Iha case Involves Illegal                  Governance (21)
          harassment) (OB)                                drugs, check this Item; otherwise, ·             Other PeUllon (not specified
    Defamation (e.g., slander, libel)                     report as Commercial or Resident/al)                  above) (43)
           (13)                                  Judicial Revlow                                                Civil Harassment
    Fraud (16)                                       Asset Forfeiture (05)                                      Workplace Violence
    Intellectual Property (19)                       Pelltion Re: Arbitration Award (11)                        Elder/Dependent Adult
    Professional Negligence (25)                     Writ of Mandate (02)                                             Abuse
         Legal Malpractice                                Writ-Administrative Mandamus                          Election Contest
         Other Professional Malpractice                   Writ-Mandamus on Limited Court                        Petition for Name Change
              (not medical or legal)                          Case Maller                                       Petition for Relief From Lale
     other Non-Pl/PD/WO Tort (35)                         Writ-Other Limited Court Case                               Claim
Employment                                                    Review                                            Other Civil Petition
    Wrongful Termination (36)                        Other Judicial Review (3g)
    Other Employment (15)                                 Review of Heallh Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM·010 tRov, July 1, 2007)                                                                                                                 Paoo 2 of 2
                                                      CIVIL CASE COVER SHEET




                                                                          20
       Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.24 Page 18 of 21



 Sl:JPERIOR° COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      330 W Broadwoy
 MAILINO ADDRESS:     330 W Broadway
 CITY ANO ZIP CODE:   Sen Dlooo, CA 92101·3827
 BRANCH NAME:         Oonlrel
 TELEPHONE NUMBER: (619) ~60-7086

 PLAINTIFF(S) I PETITIONER(S):              Sollman Eld

 DEFENDANT(S) I RESPONDENT(S): Michael Staplelon Associates LTD


  SOLIMAN EID VS MICHAEL STAPLETON ASSOCIATES LTD [IMAGED!
                                                                                             CASE NUMBER:
  NOTICE OF CASE ASSIGNMENT
  and CASE MANAGEMENT CONFERENCE                                                             37 ·2017-00029986-CU·OE·CTL

 CASE ASSIGNMENT
 Judge: Joan M. Lewis                                                                 Department: C-65

 COMPLAINT/PETITION FILED: 08/15/2017

TYPE OF HEARING SCHEDULED                             DATE           TIME           DEPT               JUDGE
 Civil Case Management Conference                     02/0212018     10:15 am       C-65               Joan M. Lewis


A case management statement must be completed by counsel for all parties or self-represented llllganls and timely filed with the court
at least 15 days prior to the lnlllal case management conference, (San Diego Local Rules, Division II, CRC Rule 3.725).             .
All counsel or record or parties In pro per shall appear at the Case Management Conference, be famlllar with the case, and be fully
prepared to participate effectively In the hearing, lncludlng discussions of ADR* options.



                '
IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS·COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM fJCIV-730), A STIPULATION TO ·USE ALTERNATIVE DISPUTE RESOLUTION (AD") (SbSC FORM #CIV-369), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2. 1,5,
ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED,
TIME STANDARDS: The rollowlng tlmeframes apply to general clvll cases and must be adhered to unless you have requested and
       been granted an exlenslon of time. General civil cases consist of all civil cases except: small claims proceedings,
       clvll petitions, unlawful detainer proceedings, probate, guardianship, conservatorshlp, juvenile, parking citation
       appeals, and ramlly law proceedings.
COMPLAINTS: Complalnts and all other documents listed In SDSC Local Rule 2.1.6 must be served on all named defendants.
DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complalnt. (Plaintiff may
      stipulate to no more than 15 day extension which must be In writing and filed wllh the Court.) (SDSC local Rule 2. 1.6)
JURY FEES: In order to preserve the right to a jury trlal, one party for each side demanding a jury trial shall pay an advance Jury ree In
       the amount of one hundred fifty dollars ($160) on or before the date scheduled for the lnltlal case management con(erence In
       the action,


COURT REPORTERS: Court reporters are not provided by the Court In Clvll cases, See policy regarding normal avallablllly and
unavallablllly of official court reporters et www.sdcourt.ca.gov.
•ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO Tl-IE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATIACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #C!V-359).




SDSC CIV·721 (Rev, 01-17)                                                                                                        Pogo: 1
                                                          NOTICE OF CASE ASSIGNMENT




                                                                        21
        Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.25 Page 19 of 21


                            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                 ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



 CASE NUMBER: 37-2017-00029986-CU·OE·CTL                    CASE TITLE: Sollman Eld vs Michael Stapleton Associates LTD [IMAGED)


 NOTICE: All plalntlffs/cross-complalnants In a general civil case are required to serve a copy of the following
 three forms on each defendantlcross-defendant, together with the complalntlcross-complaint:
                (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
                (2) the Stlpulatlon to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-35~), filH!.
                (3) the Notice of Case Assignment form (SDSC form #CIV·721).

 Most civil disputes are resolved without filing a lawsuit, and most clvll lawsults are resolved without a trial. The courts,
 community organizations, and private providers offer a variety of Alternative Dispute Resolutlon (ADR) processes to help
 people resolve disputes without a trial. The San Diego Superior Court expects that lltlgants will utilize some form of ADR
 as a mechanism for case settlement before trlal, and It may be beneficial to do this early In the case.

 Below Is some Information about the potential advantages and disadvantages of ADR, the most common types of ADR,
 and how to find a local ADR program or neutral. A form for agreeing to use ADR Is attached (SDSC form #CIV-359).

Potential Advantages and Dlsadyantagos of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

            Potential Advantages                             Potential Disadvantages
            • Saves time                                     • May take more time and money If ADR does not
            • Saves money                                      resolve the dispute
            • Gives parties more control over the dispute    • Procedures to learn about the other side's case (discovery),
              resolution process and outcome                   jury trial, appeal, and other court protections may be limited
            • Preserves or Improves relationships              or unavailable                                     ·


Most Common Types of ADR
You can read more Information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http:Uwww,sdcourt,ca,gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate In an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation Is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relatlonshlp, such as In disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision In the case but helps the parties to negotiate a 'settlement, Settlement conferences may be partlcularly helpful
when the parties have.very different Ideas about the likely outcome of a trial and would Ilka an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration Is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonblndlng arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would Ilka to avoid the
formallty, time, and expense of a trial.


SDSC CIV-730 (Rev 12·10)     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                Pago: 1




                                                                   22
       Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.26 Page 20 of 21



 Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
 obtained privately, Including neutral evaluation, conclllatlon, fact finding, mini-trials, and summary Jury trials. Sometimes
 parties will try a combination of ADR processes. The Important thing Is to try to find the type or types of ADR that are
 most likely to resolve your dispute, Be sure to learn about the rules of any ADR program and the qualifications of any
 neutral you are considering, and about their fees.

 Local ADR Programs for Civil Cases

 Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
 certain minimum qualifications and have agreed to charge $150 per hour for each of the first lwo (2) hours of mediation
 and their regular hourly rate thereafter In court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
"Mediator Search" to review Individual mediator profiles containing detailed Information about each mediator Including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005), The Clvll Mediation Panel List, the
Available Mediator List, Individual Mediator Profiles, and M17dlator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court If the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered In good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the Issues for settlement consideration and further
discovery for settlement purposes Is not required, Refer to SDSC Local Rule 6...2.J. for more Information. To schedule a
settlement conference, contact the department to which your case Is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter Ill and Code Clv. Proc. § 1141.10 et seq or contact the Arbitration Program Office at (619)
450-7300 for more Information.

More Information about court-connected APR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code§§ 465 et seq.):
           In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www,ncrconllne,com or (619) 238-2400.
           In North San Diego County, contact North County Lifeline, Inc. at www.nclifellne.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively In ADR, It Is generally Important to understand your legal rights and responsibllltles and the
likely outcomes If you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants In
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you In finding an attorney. Information about obtaining free and low cost legal assistance Is also available on
the California courts website at Wk\W.COUrllnfo.oa.govlselfhelp/lowcost.




SOSO CIV-730 (11ov IMO)
                          ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                             Pogo: 2




                                                                23
         Case 3:17-cv-02456-L-JLB Document 1-2 Filed 12/07/17 PageID.27 Page 21 of 21


                                                                                                                                FOR COURT USE ONLY
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
   STREET ADDRESS:            330 West Broadway
   MAIL/NCl ADDRESS:          330 West Broadway
   CITY, STATE, & ZIP CODE:   San Diego, CA 92101-3827
   BRANCH NAME:               Central

   PLAINTIFF(S):           Sollman Eld

   DEFENDANT(S): Michael Slaplelon Associates LTD DBA MSA Security

   SHORT TITLE:            591..IMAN /::ID VS MICHAEL STAPLETON ASSOCIATES LTD (IMAGED)

                              STIPULATION TO USE ALTERNATIVE                                                     CASE NUMBER:
                                  DISPUTE RESOLUTION (ADR)                                                        37-2017-00029986-CU-OE-CTL

   Judge: Joan M. Lewis                                                                              Department: C·65

   The parlles and their attorneys stipulate that the matter Is at Issue and the claims In this action shall be submitted to the following
   alternallve dispute resolution (ADR) process, Selection of any of these options will not delay any case management tlmellnes.
       0     Mediation (court-connected)                                  0    Non-binding private arbitration

       0     Mediation (private)                                          0    Binding private arbllrellon

      0      Voluntary selllemenl conrerence (private)                    0    Non-binding )udlclal arbitration (discovery unlll 15 days before trlal)

      0      Neutral evaluallon (private)                                 0    Non-binding )udlclal arbitration (discovery unlll 30 days belore lrlel)

      0      Other (specify e.g., private mlnl·lrlal, private judgtJ,   etc,):-------------------------

   It Is also stipulated that the following shall serve as arbllralor, mediator or olher neutral: (Name)




   Alternale neutral (for court Civil Mediation Program and arbitration only): - - - - - - - - - - - - - - - - - - - - - - -

   Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                             Dela: - - - - - - - - - - - - - - - - - -



   Name of Plalnlllf                                                                         Name of oerandanl



   Signature                                                                                 Signature


   Name of Plalnllffs Attorney                                                               Name of Derendant's Attorney



   Signature                                                                                 Signature
   If there are more perllee    en~/or   attorneys, please attach eddlllonel compleled end fully exeouled sheets.
  It Is Iha duty or the partlee to notify the court of any settlement pursuant lo Cal, Rules or Court, rule 3. 1365. Upon notification of the selllemant,
  the court Wiii place this metier on a 45-day dismissal calendar.
  No new parlles may be added without leave of court,
  IT IS SO ORDERED,
  Dated: 08/16/2017                                                                                          JUDGE OF THE SUPERIOR COURT
SOSO C/V·369 (Rev 12·10)                                                                                                                                    Pnoa: 1
                                        STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION




                                                                                    24
